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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ROME DIVISION

    IN RE: DUSTIN TYLER BABB,                {   CHAPTER 13
                                             {
                                             {
            DEBTOR                           {   CASE NO. R24-40714-BEM
                                             {
                                             {   JUDGE ELLIS-MONRO


                     SUPPLEMENTAL OBJECTION TO CONFIRMATION


         COMES NOW K. EDWARD SAFIR, CHAPTER 13 TRUSTEE herein, and
    objects to Confirmation of the plan for the following reasons:

         1. The plan payment change in Section 2.1 of the amended
    plan filed August 27, 2024 conflicts with the step change to
    occur in September 2024, when the lease for Rent-A-Center ends.

         WHEREFORE, the Trustee moves the Court to inquire into the
    above objections, deny Confirmation of this Debtor's Plan and to
    dismiss the case; or, in the alternative, convert the case to
    one under Chapter 7.


                                    __________/s/_________________
                                    Sonya Buckley Gordon, Attorney
                                    for Chapter 13 Trustee
                                    GA Bar No. 140987




    K. Edward Safir, Chapter 13 Trustee
    285 Peachtree Center Ave., NE
    Suite 1600
    Atlanta, GA 30303
    (404) 525-1110
    sonyab@atlch13tt.com
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                             CERTIFICATE OF SERVICE


          I hereby certify that on this day I electronically filed
    the foregoing pleading using the Bankruptcy Court's Electronic
    Case Filing program, which sends a notice of this document and
    an accompanying link to this document to the following parties
    who have appeared in this case under the Bankruptcy Court’s
    Electronic Case Filing program:

    SAEGER & ASSOCIATES, LLC

         I further certify that on this day I caused a copy of
    this document to be served via first-class United States mail,
    postage prepaid, on the following parties at the address shown
    for each:

    DUSTIN TYLER BABB
    4580 HIGHWAY 52A
    CHATSWORTH, GA 30705-7718


    This 24th day of September, 2024

    Respectfully submitted,

               /s/             ___
    Sonya Buckley Gordon, Attorney
    for Chapter 13 Trustee
    GA Bar No. 140987




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